        Case 18-14030-mdc              Doc 15 Filed 09/30/18 Entered 10/01/18 01:03:09                               Desc Imaged
                                            Certificate of Notice Page 1 of 3
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 18-14030-mdc
Rudolph Jones                                                                                              Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: admin                        Page 1 of 1                          Date Rcvd: Sep 28, 2018
                                      Form ID: 318                       Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 30, 2018.
db             +Rudolph Jones,   5723 Commerce Street,   Philadelphia, PA 19139-2428
14123872       +Police And Fire Fede,   901 Arch St,   Philadelphia, PA 19107-2495

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: BTPDERSHAW.COM Sep 29 2018 06:53:00       TERRY P. DERSHAW,    Dershaw Law Offices,
                 P.O. Box 556,    Warminster, PA 18974-0632
smg             E-mail/Text: megan.harper@phila.gov Sep 29 2018 03:06:35        City of Philadelphia,
                 City of Philadelphia Law Dept.,    Tax Unit/Bankruptcy Dept,     1515 Arch Street 15th Floor,
                 Philadelphia, PA 19102-1595
smg             E-mail/Text: RVSVCBICNOTICE1@state.pa.us Sep 29 2018 03:05:47
                 Pennsylvania Department of Revenue,     Bankruptcy Division,    P.O. Box 280946,
                 Harrisburg, PA 17128-0946
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Sep 29 2018 03:06:09        U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,    Room 1250,    615 Chestnut Street,    Philadelphia, PA 19106-4404
14123867       +EDI: CAPITALONE.COM Sep 29 2018 06:53:00       Capital One,
                 Attn: General Correspondence/Bankruptcy,     Po Box 30285,    Salt Lake City, UT 84130-0285
14123868       +EDI: RCSFNBMARIN.COM Sep 29 2018 06:53:00       Credit One Bank Na,    Po Box 98873,
                 Las Vegas, NV 89193-8873
14123869       +EDI: NAVIENTFKASMDOE.COM Sep 29 2018 06:53:00       Dept Of Ed/Navient,    Attn: Claims Dept,
                 P.O. Box 9635,    Wilkes Barr, PA 18773-9635
14123870       +E-mail/Text: bk@lendingclub.com Sep 29 2018 03:06:41        Lending Club Corp,    71 Stevenson St,
                 Suite 300,    San Francisco, CA 94105-2985
14123871       +EDI: AGFINANCE.COM Sep 29 2018 06:53:00       OneMain,   Attn: Bankruptcy,     601 Nw 2nd St,
                 Evansville, IN 47708-1013
14124302       +EDI: PRA.COM Sep 29 2018 06:53:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
14123873       +EDI: RMSC.COM Sep 29 2018 06:53:00       Synchrony Bank/ JC Penneys,    Attn: Bankruptcy,
                 Po Box 965060,    Orlando, FL 32896-5060
14123874       +EDI: RMSC.COM Sep 29 2018 06:53:00       Synchrony Bank/Walmart,    Attn: Bankruptcy,
                 Po Box 965060,    Orlando, FL 32896-5060
                                                                                                TOTAL: 12

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 30, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 27, 2018 at the address(es) listed below:
              BRAD J. SADEK    on behalf of Debtor Rudolph Jones brad@sadeklaw.com, bradsadek@gmail.com
              TERRY P. DERSHAW    td@ix.netcom.com, PA66@ecfcbis.com;7trustee@gmail.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Rudolph Jones                                               Social Security number or ITIN   xxx−xx−5778
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of Pennsylvania

Case number: 18−14030−mdc



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Rudolph Jones

                                                                          By the court: Magdeline D. Coleman
           9/27/18                                                                      United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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